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                      IN THE UNITED      STATES DISTRICT      COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


KIRK LEE LONEY,

         Plaintiff,

v.                                                   Civil Action       No.    3:08CV820


DOUGLAS L.     WILDER,      et al. ,

         Defendants.


                                 MEMORANDUM OPINION


         Plaintiff Kirk Lee        Loney,    a federal       inmate proceeding pro

se, brings this action.            On May        12, 2011,   by Memorandum Opinion

and Order,      the Court dismissed all Defendants except Defendants

Sims,     George,     and   Unknown      Officers    #   1   and   ordered         Loney    to

serve Defendants within 120 days from the entry thereof.                              Loney

v.    Wilder, No. 3:08CV820,           2011 WL 1827440, at *4 (E.D.                 Va.    May

12, 2011).       On December 9, 2011, 211 days after the entry of the

May 12,     2011 Order,       the Court by, Memorandum Opinion and Order,

directed Loney to show cause,               within eleven days of the entry

thereof,      why     Defendants       Unknown    Officers    #    1   should       not     be

dismissed      for     failure    to    effect     service.        Loney      v.    Wilder,

No. 3:08CV820, 2011 WL 6148626, at *12 (E.D. Va.                       Dec.    9, 2011).1

On December 20,         2011,    Loney placed a Motion for Enlargement of

Time ("Motion")        (Docket No. 131) in the prison mailing system.

        1 In the December 9, 2011 Memorandum Opinion and Order the
Court granted motions for summary judgment from Defendants Sims
and George.  Loney, 2011 WL 6148626, at *12.
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        Federal          Rule    of    Civil        Procedure            4 (m)    states           that,       absent

good cause          shown,       this       Court      must     dismiss          any action              against       a

defendant         not     served       within        120       days      after         the     filing          of    the

complaint.             Good      cause       "requires         a    showing            that       the    plaintiff

*made reasonable and diligent efforts to effect service prior to

the 120-day limit,                   which may include a showing that plaintiff's

attempts          at      service           were     unsuccessful                 due        to     a        putative

defendant's evasion of process.'"                               Hai Xu v. FMS Fin.                      Solutions,

LLC, No. ELH-10-3196,                  2011 WL 2144592, at *2 n.3                             (D. Md. May 31,

2011)    (quoting Quann v. Whitegate-Edgewater,                                    112 F.R.D.                649,    659

(D.    Md.     1986) ) .         "Pro       se     status,         however,            is    insufficient             to

establish good cause, even where the pro se plaintiff mistakenly

believes          that    service          was     made      properly."                Hansan           v.    Fairfax

Cnty.    Sch.       Bd.,      405     F.     App'x     793,        794     (4th        Cir.       2010)        (citing

McNeil       v.    United        States,         508    U.S.        106,         113        (1993);          Jonas    v.

Citibank, 414 F. Supp. 2d 411, 416 (S.D.N.Y. 2006)).

        More       than    250       days     have      elapsed           since        the        Court       ordered

Loney    to       serve       defendants.               In     his       Motion,            Loney       states        no

reasonable and diligent                      efforts,          made      either by him or on his

behalf, to serve Unknown Officers #1.                                    Additionally, Loney fails

to    offer the Court                any hope        that Unknown Officers                         # 1 will be

properly          served        in    the     foreseeable             future.               Sewraz        v.    Long,

No. 3:08CV100,             2012       WL    214085,       at    *3       (E.D.     Va.        Jan.       24,    2012)

(dismissing              defendants           where          plaintiffs                failed           to      serve
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defendants within the 120-day period and failed to suggest means

for    effecting         service      in    the    future    (citing Myers            v.    Schroder,

No.    09-528      (RHK/JJK),         2010 WL 2777483,             at    *8   (D.   Minn.     June   4,

2010));      Greene        v.    Neven,       No.     3:07-CV-00474-LRH-VPC,                 2010    WL

1300903,      at    *2    (D.    Nev.       Feb.    10,    2010)        (dismissing defendants

where plaintiff failed to show good cause existed for a fifteen-

month      delay    in    service       and    failed to       show       "that     he     [would]   be

able to effectuate service ...                            at any time in the future.");

see Villeneuve v.               Connecticut,         No.    09-13-P-S,         2009      WL 1783540,

at    *2   (D. Me.       June   22,    2009)       ("The court cannot countenance the

bringing of an action ... to languish on its docket until some

indefinite future date when the plaintiff may actually be able

to serve those defendants.").                        Thus,     Loney fails to show good

cause.       Accordingly,             Loney's       Motion    (Docket         No.   131)     will    be

denied,     all    claims       against       Defendant       Unknown Officers              # 1 will

be     dismissed         without           prejudice,        and        the    action       will     be

dismissed.


        Loney filed both a Motion to Object and a Motion to Correct

an Error in the Motion to Object challenging the Court's earlier

disposition        of    his    motion to          show cause.            This motion        to    show

cause challenged VCU Health Systems's compliance with a subpoena

duces tecum.             On December 22,             2011,     the Court,           by Memorandum

Order, found VCU Health Systems in compliance with the subpoena

duces tecum and denied Loney's motion to show cause.                                        Loney v.
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Wilder,    No.    3:08CV820       (E.D.      Va.      Dec.   22,   2011).         In his      current

motions,    Loney       continues       to       argue    that     VCU    Health      Systems        has

not complied with the subpoena duces tecum.                               (Mot. Object 1, 3.)2

The Court again finds that VCU Health Systems has complied with

the subpoena duces tecum.3                Accordingly, Loney's Motion to Object

and    Motion     to    Correct    an     Error        (Docket     Nos.    133,      134)     will    be

denied.


        Loney    further        submits      a     second    Motion       to    Object      ("Second

Motion to Object"             (Docket No. 136))              in which he challenges the

Court's     December       9,    2011     Memorandum         Opinion       and       Order.        This

submission did          not     include,         as    it must,      any       "citation      of     the

authorities       upon which        [Loney]           relies."      E.D.       Va.   Loc.     Civ.    R.

7(F)(1).         Rather,      in the Second Motion to Object,                         Loney makes

only     bald     assertions        that         the     Court      used       incorrect        legal

standards and made incorrect factual inferences.                                      Accordingly,

the Second Motion to Object (Docket No. 136) will be denied.




        2 The Court refers to the page numbers assigned to this
document by the CM/ECF system.

       VCU Health Systems submitted a response to Loney's Motion
to Object.   (Docket No. 140).   In this submission, VCU Health
Systems reiterates that all of the medical records belonging to
"Kirk Lee Loney" or "Kirk Loney," even those outside of the
dates     requested,       were     submitted in             response to             the    subpoena
duces tecum.           (VCU Response Mot. Obj. 1-2.)
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     The   Clerk   is   directed   to   send   a   copy    of   the   Memorandum

Opinion to Loney and counsel of record.

     An appropriate Order shall issue.




                                   Robert E. Payne
                                                          /s/         Mt
Richmond, Virginia                 Senior United States District Judge

Date: ?«W»H^'V
